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                            AMENDED WITNESS AND EXHIBIT LIST

                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    Case No: 18-32106                                  Name of Debtors: Erin Energy Corporation,
    (Jointly Administered)                             et al.,1
    Witnesses:                                         Judge: Marvin Isgur
         1. Sakiru Adefemi (Femi) Ayoade
         2. Dippo Bello
         3. Loretta Cross
         4. Greg Holcombe
         5. Any witness listed by other parties
                                                       Hearing Date: June19, 2018
                                                       Hearing Time: 9:00 a.m.
                                                       Party Names: Erin Energy Corporation, et al.
                                                       Attorney’s Name: Matthew S. Okin
                                                       Attorney’s Phone: (713) 228-4100


Nature of Proceedings:

          1. Emergency Motion of Armada Oyo Limited and Bumi Armada (Singapore), Pte., Ltd.
             and for an Order Pursuant to Sections 105(a), 362(d)(1) and 363(e) of the Bankruptcy
             Code Modifying the Automatic Stay and Granting Related Relief [Doc. #69]

          2. Emergency Motion of Armda Oyo Limited and Bumi Armada (Singapore) Pte., Ltd.
             to Compel Assumption or Rejection of Executory Contracts Pursuant to Sections
             105(a) and 365(d)(2) of the Bankruptcy Code [Doc. #71]

          3. Debtors’ Application for an Order Pursuant to Sections 327(a) and 328(a) of the
             Bankruptcy Code Authorizing the Employment and Retention of Okin Adams LLP as
             Counsel for the Debtors [Doc. No. 91]

          4. Debtors’ Application for an Order Pursuant to Section 327(a) of the Bankruptcy Code
             Authorizing the Employment and Retention of Stout Risius Ross, LLC as Financial
             Advisor to the Debtors [Doc. No. 93]

          5. Debtors’ Emergency Motion for the Entry of an Order Pursuant to Sections 105(a)
             and 362 of the Bankruptcy Code Holding Zenith Bank PLC in Contempt for
             Violating the Automatic Stay [Doc. No. 178]


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 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
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        6. Debtors’ Expedited Motion for Entry of an Order Authorizing the Debtors to Retain
           and Compensate Professionals Utilized in the Ordinary Course of Business [Doc. No.
           196].

        7. Emergency Motion for Pursuant to 11 U.S.C. §§ 105, 361, and 364 and Federal
           Bankruptcy Rules 2002, 4001, and 9004 for a Final Order Authorizing the Debtors to
           Incur Post-Petition Secured Indebtedness [Doc. No. 203]

                                     DEBTOR’S EXHIBITS

Ex.#                Description                Offered   Objection    Admitted/    Disposition
                                                                        Not
                                                                      Admitted
 1.    Map of Debtors’ Oil and Gas
       Operations in Africa

 2.    Diagram of Debtors’ Corporate
       Structure

 3.    Declaration of Matthew S. Okin in
       Support of the Debtors’ Application
       for Order Pursuant to Sections 327(a)
       and 328(a) of the Bankruptcy Code
       Authorizing Employment and
       Retention of Okin Adams LLP as
       Counsel for the Debtors and Statement
       Pursuant to Bankruptcy Rule 2016(b)
       [Doc. #91-1]

 4.    Affidavit of Proposed Financial
       Advisor and Disclosure of
       Compensation [Doc. #93-1]

 5.    Proposed Ordinary Course
       Professional Procedures

 6.    Form of Declaration of
       Disinterestedness for OCPs

 7.    Schedule of Ordinary Course
       Professionals [Doc. #196-2]

 8.    Corporate Guarantee by Camac Energy
       Inc. Made in Favour of Zenith Bank
       PLC dated September 11, 2014 [Doc.
       #178-1]




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Ex.#                Description                 Offered   Objection   Admitted/   Disposition
                                                                        Not
                                                                      Admitted
 9.    Letter dated February 23, 2017
       regarding the resignation of Mr. Segun
       Omidele from the Erin Board of
       Directors [Doc. #178-2]

10.    Wire transfer notification dated
       January 9, 2018 in the amount of
       $3,200,000 [Doc. #178-3]

11.    Bank of America Account Statement
       showing January 9, 2018 deposits
       [Doc. #178-4]

12.    May 22, 2018 Letter from J.K. Randle
       to Erin Petroleum regarding Notice of
       Appointment of Receiver [Doc. #178-
       5]

13.    May 31, 2018 Letter from Terra
       Marine Attorneys to J.K. Randle
       regarding Notice of Appointment of
       Receiver [Doc. #178-6]

14.    Zenith Bank List of Correspondent
       Banks and International Banking
       Partners [Doc. #178-7]

15.    Corporate Guarantee by Erin Energy
       Corporation Made in Favour of Zenith
       Bank PLC dated August 3, 2016 [Doc.
       #178-8]

16.    Letter to United States Bankruptcy
       Court from Charles Nwabulu of Kenna
       Partners dated June 7, 2018 [Doc.
       #187]

17.    Receivership papers from Zenith Bank
       [Doc. #187-1]

18.    Zenith Bank PLC Motion to Set Aside
       Order entered on May 25, 2018 [Doc.
       #187-2]



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Ex.#                Description                Offered   Objection   Admitted/   Disposition
                                                                       Not
                                                                     Admitted
19.    Sworn Affidavit of Facts of Mr. Bosah
       Okonyia [Doc. #187-3]

20.    Motion on Notice in the Federal High
       Court in the Lagos Judicial Division
       filed by the Ministry of Petroleum
       Resources and Department of
       Petroleum Resources

21.    Proposed Budget [Doc. #203-1]

22.    Proposed DIP Loan Order [Doc. #203-
       2]

23.    Proposed DIP Loan Note

24.    Any Exhibit Designated by Any Other
       Party

25.    Rebuttal Exhibits




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Respectfully submitted this 18th day of June, 2018.

                                             Respectfully submitted,

                                             OKIN ADAMS LLP

                                             By:         /s/ Matthew S. Okin
                                                    Matthew S. Okin
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                                                    Tel: 713.228.4100
                                                    Fax: 888.865.2118

                                             PROPOSED ATTORNEYS FOR THE
                                             DEBTORS



                                CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2018, I filed the foregoing pleading electronically,
causing a true and correct copy of the foregoing to be served via the Court’s EM/ECF electronic
system to all parties consenting to service through same.

                                                      /s/ Matthew S. Okin       _______
                                                      Matthew S. Okin




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